Case 21-30085-hdh11 Doc 150 Filed 02/12/21          Entered 02/12/21 14:57:27        Page 1 of 9



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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

IN RE:                                         §           CHAPTER 11
                                               §
NATIONAL RIFLE ASSOCIATION                     §           Case No. 21-30085-sgj-11
OF AMERICA and SEA GIRT LLC,                   §
                                               §
         DEBTORS.                              §           JOINTLY ADMINISTERED

 NOTICE OF HEARING ON ACKERMAN MCQUEEN, INC.’S MOTION TO DISMISS
     CHAPTER 11 BANKRUPTCY PETITION, OR, IN THE ALTERNATIVE,
       MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE

         PLEASE TAKE NOTICE THAT the hearing(s) on the Motion to Dismiss Chapter 11

Bankruptcy Petition, or, in the Alternative, Motion for the Appointment of a Chapter 11 Trustee

(the “Dismissal Motion”) [Dkt. No. 131] are scheduled to commence on March 29, 2021, at 10:30

a.m. CST, and continue (as necessary) on March 30, 2021, starting at 9:00 a.m. CST, and

March 31, 2021, starting at 10:30 a.m. (collectively, the “Hearings”), before the Honorable

Harlin D. Hale, United States Bankruptcy Judge for the Northern District of Texas.


         PLEASE TAKE FURTHER NOTICE that pursuant to Local Rule of Bankruptcy

Procedure 9014(c):




4812-2779-9769\9
Case 21-30085-hdh11 Doc 150 Filed 02/12/21           Entered 02/12/21 14:57:27       Page 2 of 9




               NO HEARING WILL BE CONDUCTED ON THE DISMISSAL
               MOTION UNLESS A WRITTEN RESPONSE IS FILED WITH THE
               CLERK OF THE UNITED STATES BANKRUPTCY COURT AT
               EARLE CABELL FEDERAL BUILDING, 1100 COMMERCE
               STREET, RM. 1254, DALLAS, TEXAS 75242-1496 BEFORE CLOSE
               OF BUSINESS ON MARCH 5, 2021, WHICH IS AT LEAST 21 DAYS
               FROM THE DATE OF SERVICE HEREOF.

               ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE
               CLERK, AND A COPY SHALL BE SERVED UPON COUNSEL FOR
               THE MOVING PARTY (ACKERMAN MCQUEEN, INC.) PRIOR
               TO THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE
               IS FILED A HEARING MAY BE HELD WITH NOTICE ONLY TO
               THE OBJECTING PARTY.

               IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY
               REQUESTED, THE RELIEF REQUESTED SHALL BE DEEMED
               TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
               GRANTING THE RELIEF SOUGHT OR THE NOTICED ACTION
               MAY BE TAKEN.

       PLEASE TAKE FURTHER NOTICE the Hearings will be conducted via Webex.

Parties are requested to review the Webex information/tips posted on Judge Hale's webpage prior

to the hearing. The Webex hearing link and Webex information/tips may be accessed here:

https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-hales-hearing-dates.

       PLEASE TAKE FURTHER NOTICE that additional information regarding how to

participate in a Webex hearing is attached hereto.

       If you would like a copy of the Dismissal Motion, please contact the undersigned counsel.



                  [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




NOTICE OF HEARING ON ACKERMAN MCQUEEN, INC.’S MOTION TO DISMISS                          PAGE 2
Case 21-30085-hdh11 Doc 150 Filed 02/12/21            Entered 02/12/21 14:57:27        Page 3 of 9




Date: February 12, 2021                              Respectfully submitted,

                                                     DORSEY & WHITNEY LLP

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                                                     Phone: (214) 981.9900
                                                     Facsimile: (214) 981.9901

                                                     ATTORNEYS FOR ACKERMAN MCQUEEN,
                                                     INC.

                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing document has
been served upon all parties named on the attached Master Service List by first-class U.S. Mail, and
all parties receiving notice by and through the Court’s CM/ECF system on February 12, 2021



                                              /s/ H. Joseph Acosta
                                              H. JOSEPH ACOSTA




NOTICE OF HEARING ON ACKERMAN MCQUEEN, INC.’S MOTION TO DISMISS                              PAGE 3
Case 21-30085-hdh11 Doc 150 Filed 02/12/21         Entered 02/12/21 14:57:27      Page 4 of 9

                          In re: Sea Girt LLC - Case No. 21-30080
              In re: National Rifle Association of America - Case No. 21-30085

                                  MASTER SERVICE LIST

                                   Debtor/Debtor’s Counsel




 National Rifle Association of America          Neligan LLP
 11250 Waples Mill Road                         Attn: Patrick J. Neligan
 Fairfax, VA 22030                                      Douglas J. Buncher
                                                        John D. Gaither
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                                                Dallas, TX 75201
                                                Email: pneligan@neliganlaw.com
                                                        dbuncher@neliganlaw.com
                                                        jgaither@neliganlaw.com
 Sea Girt LLC
 11250 Waples Mall Road
 Fairfax, VA 22030

                                         U.S. Trustee

 Office of the United States Trustee
 Attn: Lisa Young
 Earle Cabell Federal Building
 1100 Commerce Street, Room 976
 Dallas, TX 75242

                                       Secured Creditors

 Atlantic Union Bank
 Attn: Andrew Kalin
 1800 Robert Fulton Drive, Suite 100
 Reston, VA 20191
 Email: andrew.kalin@atlanticunionbank.com

                               20 Largest Unsecured Creditors

 Ackerman McQueen, Inc.                         Membership Marketing Partners LLC
 1601 Northwest Expressway                      11250 Waples Mill Road, Suite 310
 Oklahoma City, OK 73118-1438                   Fairfax, VA 22030




90324v1
Case 21-30085-hdh11 Doc 150 Filed 02/12/21         Entered 02/12/21 14:57:27      Page 5 of 9




 Gould Paper Corporation                        Infocision Management Corp.
 Attn: Warren Connor                            325 Springside Drive
 99 Park Avenue, 10th Floor                     Akron, OH 44333
 New York, NY 10016

 Under Wild Skies                               Valtim Incorporated
 201 N. Union Street, Suite 510                 P.O. Box 114
 Alexandria, VA 22314                           Forest, VA 24551

 Quadgraphics                                   Communications Corp of America
 N63W23075 Hwy. 74                              Attn: Judy Reid
 Sussex, WI 53089                               13195 Freedom Way
                                                Boston, VA 22713

 Membership Advisors Public REL                 Salesforce.Com, Inc.
 11250 Waples Mill Road, Suite 310              One Mark St. – The Landmark, Suite 300
 Fairfax, VA 22030                              San Francisco, CA 94105

 Mercury Group                                  Speedway Motorsports, Inc.
 1601 NW Expressway, Suite 1100                 P.O. Box 600
 Oklahoma City, OK 73118                        Concord, NC 28026

 Image Direct Group LLC                         Google
 200 Monroe Avenue, Building 4                  1600 Amphitheatre Parkway
 Frederick, MD 21701                            Mountain View, CA 94043-1351

 TMA Direct, Inc.                               United Parcel Services
 12021 Sunset Hills Road, Suite 350             P.O. Box 7247-0244
 Manassas, VA 20109                             Philadelphia, PA 19170

 Membership Advisors Fund Raising               Stone River Gear, LLC
 11250 Waples Mill Road, Suite 310              P.O. Box 67
 Fairfax, VA 22030                              Bethel, CT 06801

 Krueger Associates, Inc.                       CDW Computer Centers, Inc.
 105 Commerce Drive                             P.O. Box 75723
 Aston, PA 19014                                Chicago, IL 60675

                                      Government Agencies


 Internal Revenue Service                       Office of Attorney General (NY)
 P.O. Box 7346                                  Attn: Letitia James
 Philadelphia, PA 19101-7346                    28 Liberty Street
                                                New York, NY 10005




90324v1
Case 21-30085-hdh11 Doc 150 Filed 02/12/21      Entered 02/12/21 14:57:27      Page 6 of 9




 Office of Attorney General (DC)             Office of Attorney General (TX)
 Attn: Karl A. Racine                        Attn: Ken Paxton
 441 Fourth St., N.W., Suite 600-South       P.O. Box 12548
 Washington, DC 20001                        Austin, TX 78711-2548

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90324v1
Case 21-30085-hdh11 Doc 150 Filed 02/12/21   Entered 02/12/21 14:57:27   Page 7 of 9




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90324v1
Case 21-30085-hdh11 Doc 150 Filed 02/12/21                 Entered 02/12/21 14:57:27           Page 8 of 9

                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                 OFFICE OF THE CLERK




                                             October 9, 2020

                                      CLERK’S NOTICE 20-04

           PARTICIPATING IN BANKRUPTCY COURT HEARINGS BY VIDEOCONFERENCE

During the COVID-19 Pandemic, the Northern District of Texas Bankruptcy Court is conducting most of
its hearings virtually, using WebEx video conferencing. There is no fee/charge of any kind for the
participants, although you will have to download the WebEx application to your electronic device. The
WebEx meeting link, meeting number, and access code will be posted on the judge’s webpage and/or on
the ECF docket for the case. Please review the information below prior to participating in a hearing via
WebEx.

 CONNECTION INSTRUCTIONS FOR PARTICIPATING IN A WEBEX VIRTUAL HEARING
The court will allow participation in a virtual hearing using either of the following two methods. Please
connect at least 10 minutes prior to the hearing time. It is recommended that attorneys discuss the logistics
of the WebEx appearance with their clients/witnesses at least 48 hours before the hearing.

Option 1: Using the WebEx app on your smartphone, tablet, laptop, or desktop.
It is strongly preferred that participants who may speak during a hearing use the WebEx application rather
than using the “call-in" option described in Option 2.
Attorneys and/or witnesses who anticipate offering extensive testimony or legal argument or conducting
examination are required to utilize the video function. The court may consider special requests for other
appearance options on a case by case basis.
Please connect using only one device. Using two or more devices may cause audio feedback issues.
If using a phone or tablet for video, it should be set in a stationary position. Holding a phone or tablet in
your hand while speaking does not yield a good video for the court.
NOTE: If you are experiencing audio issues when using the WebEx application, you may use the “Call
Me At” selection under “Audio Connection” to move just the audio portion of the WebEx conference to
your telephone.


Option 2: Call-in via phone (audio only).
The meeting number/access code changes with each meeting and will be made available, along with the
dial-in number on the WebEx link and instructions sheet found on the judge’s webpage and/or on the ECF
docket for the case.
    Case 21-30085-hdh11 Doc 150 Filed 02/12/21                 Entered 02/12/21 14:57:27           Page 9 of 9


                                     HELPFUL HINTS AND ETIQUETTE

•   Please use the mute function when you are not speaking. Please be aware that sometimes the court mutes
    everyone when there is background noise. When you want to speak, make sure you are not on mute. Call-
    in users should dial *6 to unmute your line.

•   Remember to state your name for the record each time before speaking and speak slowly and clearly so the
    court can get a good record.

•   Use headphones whenever possible, especially if using a desktop PC with external speakers. We have found
    that newer iPhones provide the best visual and audio feed – better than most desktop computers. If you are
    on a personal computer, headphones or earbuds are required for those who need to speak during the
    hearing.

•   During examination, attorneys and witnesses should use a separate camera and microphone when
    possible. To avoid feedback, parties using separate devices must not be in the same room. The court may
    consider special requests on a case by case basis.

•   WebEx participants may use the "share" button to easily share their screen or document with the court or
    other WebEx participants. Press “stop sharing” to remove the presentation from the meeting.

•   When making an appearance from a vehicle, please park in a safe location with windows rolled up (to
    minimize background distraction and noise) and use a headset that is ear-to-phone (not the vehicle’s hands-
    free speaker-phone option).

•   Suggestions for participating in a WebEx hearing from home: If you are having connectivity problems,
    turn off devices that may be using bandwidth on your home network. Devices or applications such as
    Facetime, Roku, streaming media players, video games, or large downloads can negatively impact the audio
    and video quality of the WebEx meeting.

•   Participants are reminded that they should wear attire suitable for court.

•   Participants who wish to test their WebEx connection or the share screen functionality in advance of the
    hearing may arrange a “practice run” by contacting the courtroom deputy.


                                  EXHIBITS AND DEMONSTRATIVE AIDS
    Exhibits should be filed ahead of time by the date that they would normally be exchanged pursuant to our
    local rules using the "notice" or "list (witness/exhibit/generic)" event in ECF. For voluminous exhibits,
    please contact the courtroom deputy, as it may be necessary for you to provide the court with an exhibit
    notebook or zip file in advance of the hearing.
    Demonstrative aids and Power Points should also be filed prior to the hearing, if possible. If not, WebEx
    has the ability to allow you to share your screen, or a particular document, with everyone in the hearing. If
    these documents are admitted as exhibits, they would then have to be filed after the hearing.
    During the hearing, lawyers can refer to (and offer) their exhibits by referencing the exhibit’s docket
    number for the court and all to access. After the hearing, the court will create a Minute Entry reflecting
    which exhibits were admitted. You should consider emailing exhibits to witnesses ahead of time since they
    may not have access to PACER.
